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               UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE



United States of America


     v.                                 Criminal No. 09-cr-178-JD
                                        Opinion No. 2011 DNH 080

Peter Kavalchuk, et al.


                                O R D E R


     Defendant Peter Kavalchuk was indicted on November 12, 2009,

and charged with conspiring to traffic in counterfeit goods in

violation of 18 U.S.C. §§ 371 and 2320, trafficking in and

attempting to traffic in counterfeit goods in violation of 18

U.S.C. §§ 2 and 2320(a), and making a false statement to a

federal agent in violation of 18 U.S.C. § 1001.              Kavalchuk now

moves for a bill of particulars, pursuant to Federal Rule of

Criminal Procedure 7(f), detailing the exact statement that forms

the basis for the charge under § 1001, the date, time and

location at which he is alleged to have made the statement, and

the individual to whom he is alleged to have made the statement.

The government objects to the motion.



                               Background

     Count Four of the Superceding Indictment charges Kavalchuk

with knowingly and willfully making “a false, fraudulent, and
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fictitious material statement and representation” in violation of

18 U.S.C. § 1001.    The indictment states that on April 28, 2008,

during the execution of a search warrant at the business premises

of Kavalchuk’s co-defendant and employer, East West, Kavalchuk

falsely stated “no” when an Immigration and Customs Enforcement

Special Agent asked him whether East West had or used any remote

storage facilities for the storage of computer parts.

     At an evidentiary hearing held on March 15, 2011, ICE

Special Agent Donald Lenzie testified that Kavalchuk in fact made

two separate statements that East West did not have remote

storage facilities during the execution of the search warrant.

Lenzie testified that he first asked Kavalchuk whether East West

had any remote storage facilities early in the search, while

reviewing with Kavalchuk the terms of the search warrant.              Lenzie

then testified that he posed the question to Kavalchuk for a

second time later in the day, when he became concerned that

agents were finding limited amounts of inventory on the property.

     The court met with counsel for a pre-trial conference on

April 11, 2011.    During the conference, the government indicated

that it intended to introduce evidence concerning only the second

alleged false statement.




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                               Discussion

     “Motions for bills of particulars are seldom employed in

modern practice.”    United States v. Sepulveda, 15 F.3d 1161, 1192

(1st Cir. 1993).    They “need be granted only if the accused, in

the absence of a more detailed specification, will be disabled

from preparing a defense, caught by unfair surprise at trial, or

hampered in seeking the shelter of the Double Jeopardy Clause.”

Id. at 1192-93.     Whether, and the extent to which, a bill of

particulars should be granted is determined based on the facts

and circumstances presented in each case, and is within the

discretion of the trial court.      See id. at 1193.

     Kavalchuk argues that a bill of particulars is necessary

because the government has introduced two allegedly false

statements, and the indictment does not specify which of the two

statements forms the basis for the charge against him under

§ 1001.   The government represented at the April 11, 2001,

conference and again in its opposition to Kavalchuk’s motion that

it intends to offer evidence concerning only the second of the

two statements.    (Doc. 106, p. 1).        The government further

represented in its opposition that the evidence it will introduce

will be consistent with the testimony of Agent Lenzie and ICE

Special Agent Gregory Squire, on both direct and cross

examination, at the March 15, 2011, suppression hearing.

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     At the suppression hearing, Lenzie and Squire testified that

Peter Kavalchuk made the second statement shortly after 11:00

a.m. on April 28, 2008, during the execution of the search

warrant at 2 Victory Lane, which is the home of Peter Kavalchuk’s

brother, co-defendant Paul Kavalchuk, as well as East West’s

business premises.    Lenzie and Squire testified that they sat

down with Peter and Paul Kavalchuk at the kitchen table in Paul

Kavalchuk’s home.    Lenzie told the Kavalchuks that he was

concerned that agents were finding only limited amounts of

inventory on the property when, based on his knowledge of the

investigation, he would have expected to find hundreds of

computer parts.    Lenzie asked the Kavalchuks if East West had any

offsite storage facilities.      Peter Kavalchuk said that East West

did not.   He stated that inventory came in and went out the door,

and that they did not like keeping inventory on site.

     In light of the government’s representation that it plans to

litigate only the second statement, and the fact that Peter

Kavalchuk has access to the evidence against him, the court

concludes that Kavalchuk has sufficient information to defend

against the § 1001 charge.      Therefore, a bill of particulars is

not necessary.




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                                Conclusion

      For the foregoing reasons, Peter Kavalchuk’s motion for bill

of particulars, (doc. no. 103), is DENIED.



      SO ORDERED.




                                         ____________________________
                                         Joseph A. DiClerico, Jr.
                                         United States District Judge

May 17, 2011

cc:   Seth R. Aframe, Esquire
      William E. Christie, Esquire
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